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                                                                         FILED
                                                                   November 01, 2023

[SEALED]                                                           CLERK, U.S. DISTRICT COURT
                                                                   WESTERN DISTRICT OF TEXAS

                                                             BY:              MGR
                                                                                     DEPUTY
                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION


UNITED STATES OF AMERICA,                5:23-CR-00306-JKP
      Plaintiff,
              V.




                                        Superseding Indictment
(1) OSAZUWA EMMANUEL WILLIAMS,
(2) JUAN FRANCISCO MUNOZ,         COUNT 1: 21 U.S.C. § 846, 841(a)(1), &
       aka "JOKER"                (b)(1)(A)/(C)
(3) PAUL GOVEA                    Conspiracy to Possess with Intent to
       aka "SALUTE"              Distribute Fentanyl
(4) OSAMA MOHAMMED EL WAN,
(5) VERNDALE RAY SEALS,          COUNT 2: 21 U.S.C. § 846, 841(a)(1), &
(6) ROSA TEROMINA MILLER,        (b)(1)(A)/(C)
(7) MELISSA AMADOR               Conspiracy to Possess with Intent to
(8) DANIEL GUADALUPE FLORES,     Distribute Methamphetamine
(9) ASHLEY MARIE ARRIAGA
       aka "ASHLEY ZAVALA"       COUNT 3: 18 U.S.C. § 1956(h)
(10) ANIVAL RUIZ PORRAS,         Conspiracy to Commit Money Laundering
       aka "TALL GUY"
(11) RYAN TY MELCHOR             COUNT 4: 21 U.S.C. § 841(a)(1) & (b)(1)(A)
(12) AMBER TANAE HUEY,           & 18 U.S.C. § 2
(13) AIDA GERARDINA GOMEZ ORTIZ, Possession with Intent to Distribute
                                 Methamphetamine
       Defendants.
                                 COUNTS 5-6: 21 U.S.C. § 841(a)(1) &
                                 (b)(1)(A)/(C) & 18 U.S.C. § 2
                                 Possession with Intent to Distribute Fentanyl

                                        COUNT 7-8: 21 U.S.C. § 841(a)(1) &
                                        (b)(1)(A)/(C) & 18 U.S.C. § 2
                                        Possession with Intent to Distribute
                                        Methamphetamine
                                        COUNT 9: 18 U.S.C. § 1028(a)(7) &
                                        (b)(3)(A) & 18 U.S.C. § 2
                                        Identity Theft


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THE GRAND JURY CHARGES:

                                        INTRODUCTION

         1.    The Juan Munoz Drug Trafficking Organization (Munoz DTO) trafficked fentanyl,

methamphetamine, and synthetic cannabinoids into Texas Department of Criminal Justice

correctional facilities across Texas, using correctional officers and the mail to smuggle narcotics,

cellphones, and other contraband into the correctional facilities.

         2.    The leader of the organization, Juan Francisco Munoz, is an inmate incarcerated at

the TDCJ James V Allred Unit located in North Iowa Park, Texas. To direct and coordinate the

organization's drug trafficking activity, Munoz and other inmates, such as Paul Govea and

Verndale Ray Seals, used contraband celiphones that had been smuggled into the correctional

facilities.

         3.    The Munoz DTO obtained its narcotics from multiple different sources of supply.

One source of supply, Osama Elwan, supplied the DTO with bulk amounts of liquid fentanyl and

fentanyl-soaked paper sheets. Another, a Mexico-based source of supply, supplied the DTO with

kilogram-quantities of fentanyl and methamphetamine.

        4.     To smuggle narcotics into correctional facilities, the Munoz DTO employed

correctional officers working at the facilities, such as Osazuwa Emmanuel Williams, Anival Ruiz

Porras, and Ryan Ty Meichor. The correctional officers would meet with non-incarcerated

members of the Munoz DTO, such as Rosa Teromina Miller and Daniel Guadalupe Flores, to

receive narcotics, celiphones, and other contraband. The correctional officers would then smuggle

the narcotics and contraband into the correctional facilities where they worked. These correctional

officers were often paid thousands of dollars for their smuggling services.

        5.     During the dates in this Indictment, correctional officers employed by the Munoz

DTO attempted to smuggle narcotics into TDCJ correctional facilities on the following occasions:

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       a. On November 29, 2022, at Juan Francisco Munoz' s direction, Daniel Guadalupe Flores

            delivered about 391 grams of methamphetamine to Correctional Officer l at a gas

            station in Karnes City, Texas. Correctional Officer #1 intended to smuggle the

            methamphetamine into the John B. Connally Unit in Karnes County, Texas.

       b. On February 13, 2023, in a deal arranged by Juan Francisco Munoz and Vemdale Ray

            Seals, Rosa Teromina Miller delivered about 738 grams of fentanyl-soaked paper

            sheets, which she had received from Amber Tanae Huey, to Correctional Officer

            Anival Ruiz Porras. Porras intended to smuggle the fentanyl paper into the Allred Unit.

       c. On May 28, 2023, at Juan Munoz's direction, Rosa Teromina Miller delivered about

            407.5 grams of methamphetamine, multiple celiphones, and $6,500 in United States

            currency to Correctional Officer Osazuwa Emmanuel Williams. Williams intended to

            smuggle the methamphetamine and cellphones into the Allred Unit.

       6.      The Munoz DTO also used the mail to smuggle narcotics and other contraband into

prisons. Non-incarcerated members of the DTO, such as Rosa Teromina Miller, Melissa Amador,

Ashley Marie Arriaga, Amber Tanae Huey, and Aida Gerardina Gomez Ortiz, would package

drug-soaked sheets of paper and mail them to inmates who were members or customers of the

Munoz DTO.

       7.      These non-incarcerated members of the DTO also prepared the drug-soaked sheets

of paper, which would be soaked in fentanyl, synthetic cannabinoids, or a mixture of narcotics. To

do so, these members used their residences as stash houses where they would soak sheets of paper

with liquid narcotics and store bulk quantities of narcotics prior to distribution. During the dates

of this Indictment, DEA agents seized the following narcotics from stash houses operated by the

Munoz DTO:



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        a.   On May 25, 2023, DEA agents seized 410.8 grams of paper sheets soaked with fentanyl

             and synthetic cannabinoids, 33 grams of paper sheets soaked with heroin and synthetic

             cannabinoids, 254.6 milliliters of liquid synthetic cannabinoids, fentanyl-sheet

             manufacturing materials, and envelopes addressed to TDCJ inmates from the residence

             of Osama Mohammed Elwan and Aida Gerardina Gomez Ortiz in Houston, Texas.

        b. On June 8, 2023, DEA agents seized 111 grams of paper sheets soaked with fentanyl

             and synthetic cannabinoids, 91 grams of paper sheets soaked with heroin and synthetic

             cannabinoids, and fentanyl-sheet manufacturing materials from the residence of Amber

             Tanae Huey in Denison, Texas.

        8.      Inmate members of the Munoz DTO would sell the narcotics smuggled into their

correctional facilities to other inmates. Members of the Munoz DTO could sell a single sheet of

drug-soaked paper for up to $1,000 once smuggled into the correctional facility.

        9.      To receive payment for the narcotics that they distributed, inmate members of the

Munoz DTO used peer-to-peer payment platforms, such as CashApp and Zelle. The inmates would

then use these peer-to-peer payment platforms to transfer the narcotics proceeds to non-

incarcerated members of the DTO who would deposit the funds into banks. During the dates in the

Indictment, Rosa Teromina Miller transferred about $332,854.02 to her JPMorgan Chase bank

account from peer-to-peer payment platforms.

                                         COUNT ONE
                   [Conspiracy to Possess with Intent to Distribute Fentanyl]
                         121 U.S.C. § 846, 841(a)(1), & (b)(1)(A)/(C)]

       That beginning on or about January 2022, the exact date unknown, and continuing until the

date of this indictment, in the Western District of Texas, the Eastern District of Texas, the Northern




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  District of Texas, the Southern District of Texas, and elsewhere, Defendants,

                         (2) JUAN FRANCISCO MUNOZ aka "JOKER",
                                (3) PAUL GOYEA aka "SALUTE",
                               (4) OSAMA MOHAMMED EL WAN,
                                   (5) VERNDALE RAY SEALS,
                                 (6) ROSA TEROMINA MILLER,
                                      (7) MELISSA AMADOR,
                   (9) ASHLEY MARIE ARIUAGA aka "ASHLEY ZAVALA",
                        (10) ANIVAL RUIZ PORRAS aka "TALL GUY",
                                   (11) RYAN TY MELCHOR,
                                (12) AMBER TANAE HUEY, and
                           (13) AIDA GERARDINA GOMEZ ORTIZ,

  knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed with

  others, to commit the following offense against the United States: possession with intent to

  distribute a mixture or substance containing a detectable amount of N-phenyl-N-[1- (2-

  phenylethyl)-4-piperidinyl] propenamide, also known as fentanyl, a Schedule II Controlled

  Substance, in violation of Title 21, United States Code, Sections 846, 841(a)(1), & (b)(1)(A)/(C).

    QUANTITY OF CONTROLLED SUBSTANCE INVOLVED IN THE CONSPIRACY

         The quantity of the mixture or substance containing a controlled substance involved in the

  conspiracy and attributable to each Defendant as a result of each Defendant's own conduct and as

  a result ofthe conduct of other conspirators reasonably foreseeable to each Defendant is as follows:

        DEFENDANT                                              QUANTITY


(2) Juan Francisco Munoz            400 grams or more of a mixture or substance containing a
                                    detectable amount of fentanyl;


(3) Paul Govea
                                    400 grams or more of a mixture or substance containing a
                                    detectable amount of fentanyl;

(4) Osama Mohammed Elwan            400 grams or more of a mixture or substance containing a
                                    detectable amount of fentanyl;



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(5) Verndale Ray Seals              400 grams or more of a mixture or substance containing a
                                    detectable amount of fentanyl;


(6) Rosa Teromina Miller            400 grams or more of a mixture or substance containing a
                                    detectable amount of fentanyl;


(7) Melissa Amador                  400 grams or more of a mixture or substance containing a
                                    detectable amount of fentanyl;


(9) Ashley Marie Arriaga
                                    A mixture or substance containing a detectable amount of fentanyl;


(10) Anival Ruiz Porras
                                    A mixture or substance containing a detectable amount of fentanyl;


(11) Ryan Ty Melchor
                                    A mixture or substance containing a detectable amount of fentanyl;


(12) Amber Tanae Huey
                                    A mixture or substance containing a detectable amount of fentanyl;


(13) Aida Gerardina Gomez Ortiz
                                    A mixture or substance containing a detectable amount of fentanyl;



  All in violation of Title 21, United States Code, Section 846.

                                         COUNT TWO
              [Conspiracy to Possess with Intent to Distribute Methamphetamine]
                         [21 U.S.C. § 846, 841(a)(1), & (b)(1)(A)/(C)]

         That beginning on or about January 2022, the exact date unknown, and continuing until the

  date of this indictment, in the Western District of Texas, the Northern District of Texas, and

  elsewhere, Defendants,

                            (1) OSAZUWA EMMANUEL WILLIAMS,
                          (2) JUAN FRANCISCO MUNOZ aka "JOKER",
                                (3) PAUL GO YEA aka "SALUTE",
                                 (6) ROSA TEROMINA MILLER,
                                    (7) MELISSA AMADOR, and

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                               (8) DANIEL GUADALUPE FLORES,

  knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed with

  others, to commit the following offense against the United States: possession with intent to

  distribute a mixture or substance containing a detectable amount of methamphetamine, a Schedule

  II Controlled Substance, in violation of Title 21, United States Code, Sections 846, 841 (a)( 1), &

  (b)(1)(A)I(C).

     QUANTITY OF CONTROLLED SUBSTANCE INVOLVED IN THE CONSPIRACY

         The quantity of the mixture or substance containing a controlled substance involved in the

  conspiracy and attributable to each Defendant as a result of each Defendant's own conduct and as

  a result of the conduct of other conspirators reasonably foreseeable to each Defendant is as follows:

         DEFENDANT                                              QUANTITY


(1) Osazuwa Emmanuel Williams       A mixture of substance containing a detectable amount of
                                    methamphetamine;


(2) Juan Francisco Munoz
                                     50 grams or more of methamphetamine;



(3) Paul Govea
                                    50 grams or more of methamphetamine;


(6) Rosa Teromina Miller
                                    50 grams or more of methamphetamine;


(7) Melissa Amador
                                    50 grams or more of methamphetamine;


(8) Daniel Guadalupe Flores
                                    50 grams or more of methamphetamine;



         All in violation of Title 21, United States Code, Section 846.

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                                       COUNT THREE
                          [Conspiracy to Commit Money Laundering]
                                     [18 U.S.C. § 1956(h)]

       That beginning on or about January 2022, the exact date unknown, and continuing until the

date of this indictment, in the Western District of Texas, the Northern District of Texas, the

Southern District of Texas, and elsewhere, Defendants,

                       (2) JUAN FRANCISCO MUNOZ aka "JOKER",
                              (3) PAUL GOVEA aka "SALUTE",
                             (4) OSAMA MOHAMMED EL WAN,
                               (6) ROSA TEROMINA MILLER,
                                 (7) MELISSA AMADOR, and
                   (9) ASHLEY MARIE ARRIAGA aka "ASHLEY ZAVALA",

knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed together,

and with others, to commit the following offenses against the United States in violation of Title

18, United States Code, Section 1956, that is, to conduct and attempt to conduct a financial

transaction affecting interstate and foreign commerce involving the proceeds of specified unlawful

activity, that is, conspiracy to possess with intent to distribute fentanyl and methamphetamine,

with the intent to promote the carrying on of said specified unlawful activity, in violation of Title

18, United States Code, Section 1956(a)(l)(A)(i), all in violation of Title 18, United States Code,

Section 1956(h).

                                         COUNT FOUR
                    [Possession with Intent to Distribute Methamphetamine]
                      [21 U.S.C. § 841(a)(1) & (b)(1)(A) & 18 U.S.C. § 2]

       That on or about November 29, 2022, in the Western District of Texas, Defendants,

                      (2) JUAN FRANCISCO MUNOZ AKA "JOKER",
                            (6) ROSA TEROMINA MILLER, and
                            (8) DANIEL GUADALUPE FLORES,

aided and abetted by each other, and others, did knowingly, intentionally, and unlawfully, possess

with intent to distribute a controlled substance, which offense involved 50 grams or more of


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methamphetamine, a Schedule 11 Controlled Substance, in violation of Title 21, United States

Code, Sections 841(a)(1) & (b)(1)(A), and Title 18, United States Code, Section 2.

                                        COUNT FIVE
                        [Possession with Intent to Distribute Fentanyl]
                     [21 U.S.C. § 841(a)(1) & (b)(1)(A) & 18 U.S.C. § 2]

       That on or about February 12, 2023 through February 13, 2023, in the Western and

Northern Districts of Texas, Defendants,

                       (2) JUAN FRANCISCO MUNOZ aka "JOKER",
                                 (5) VERNDALE SEALS, and
                              (6) ROSA TEROMINA MILLER,

aided and abetted by each other, and others, did knowingly, intentionally, and unlawfully, possess

with intent to distribute a controlled substance, which offense involved 400 grams or more of a

mixture or substance containing a detectable amount of N-phenyl-N-{1- (2-phenylethyl)-4-

piperidinyl] propenamide, also known as fentanyl, a Schedule II Controlled Substance, in violation

of Title 21, United States Code, Sections 841(a)(1) & (b)(l)(A), and Title 18, United States Code,

Section 2.

                                         COUNT SIX
                        [Possession with Intent to Distribute Fentanyl]
                     [21 U.S.C. § 841(a)(1) & (b)(1)(C) & 18 U.S.C. § 2]

       That on or about February 12, 2023 through February 13, 2023, in the Western and

Northern Districts of Texas, Defendants,

                    (10) AN!VAL RUIZ PORRAS aka "TALL GUY", and
                              (12) AMBER TANAE HUEY,

aided and abetted by each other, and others, did knowingly, intentionally, and unlawfully, possess

with intent to distribute a controlled substance, which offense involved a mixture or substance

containing a detectable amount of N-phenyl.N-[1- (2-phenylethyl)-4-piperidinyl] propenamide,

also known as fentanyl, a Schedule II Controlled Substance, in violation of Title 21, United States


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Code, Sections 841(a)(1) & (b)(1)(C), and Title 18, United States Code, Section 2.

                                       COUNT SEVEN
                  [Possession with Intent to Distribute Methamphetaminej
                     [21 U.S.C. § 841(a)(1) & (b)(1)(A) & 18 U.S.C. § 21

        That on or about May 27 to May 28, 2023, in the Western and Northern Districts of Texas,

Defendants,

                    (2) JUAN FRANCISCO MUNOZ aka "JOKER", and
                            (6) ROSA TEROMINA MILLER,

aided and abetted by each other, and others, did knowingly, intentionally, and unlawfully, possess

with intent to distribute a controlled substance, which offense involved 50 grams or more of

methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United States

Code, Sections 841(a)(1) & (b)(1)(A), and Title 18, United States Code, Section 2

                                       COUNT EIGHT
                  [Possession with Intent to Distribute Methamphetaminel
                     121 U.S.C. § 841(a)(1) & (b)(1)(C) & 18 U.S.C. § 2]

        That on or about May 27 to May 28, 2023, in the Western and Northern Districts of Texas,

Defendant,

                         (1) OSAZUWA EMMANUEL WILLIAMS,

aided and abetted by others, did knowingly, intentionally, and unlawfully, possess with intent to

distribute a controlled substance, which offense involved a mixture or substance containing a

detectable amount of methamphetamine, a Schedule II Controlled Substance, in violation of Title

21, United States Code, Sections 841(a)(1) & (b)(1)(C), and Title 18, United States Code, Section

2

                                      COUNT NINE
                                     [Identity Theftj
                    [18 U.S.C. § 1028(a)(7) & (b)(3)(A) & 18 U.S.C. § 2]

        That on or about February 28, 2023 to March 6, 2023, in the Western District of Texas and


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the Northern District of Texas, Defendants,

                      (2) JUAN FRANCISCO MUNOZ AKA "JOKER",
                            (3) PAUL GOYEA aka "SALUTE", and
                  (9) ASHLEY MARIE ARRIAGA aka "ASHLEY ZAVALA",

aided and abetted by each other, and others, did knowingly transfer, possess, and use, in or

affecting interstate or foreign commerce, without lawful authority, a means of identification of

another person, that is, their name, date of birth, and social security number, knowing that the

means of identification belonged to another actual person, with the intent to commit, or to aid or

abet, or in connection with, any unlawful activity that constitutes a violation of Federal law, that

is, Conspiracy to Possess with Intent to Distribute a Controlled Substance, in violation of2l U.S.C.

§ § 846 & 841 (a)( 1), and the offense was committed to facilitate a drug trafficking crime as defined

under 18 U.S.C. § 929(a)(2), in violation of Title 18, United States Code, Sections 1 028(a)(7),

(b)(3)(A), & 2.

                         NOTICE OF PENALTY ENHANCEMENTS
                                         [21 U.S.C. § 851]

       Before the Defendant, (2) JUAN FRANCISCO MUNOZ, committed the offenses

charged in this Indictment, (2) JUAN FRANCISCO MUNOZ had a final conviction for a serious

violent felony, as defined in 21 U.S.C. § 802(58), namely, Murder, under Texas Penal Code,

Section 19.02(b)(1), for which he served more than 12 months of imprisonment.

       Before the Defendant, (5) VERNDALE RAY SEALS, committed the offenses charged in

this Indictment, (5) VERNDALE RAY SEALS had a final conviction for a serious violent felony,

as defined in 21 U.S.C. § 802(58), namely, Aggravated Robbery, under Texas Penal Code, Section

29.03, for which he served more than 12 months of imprisonment.

       Before the Defendant, (8) DANIEL GUADALUPE FLORES, committed the offenses

charged in this Indictment, (8) DANIEL GUADALUPE FLORES had a final conviction for a


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serious violent felony, as defined in 21 U.S.C. § 802(58), namely, Aggravated Robbery, under

Texas Penal Code, Section 29.03, for which he served more than 12 months of imprisonment.

     NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                         [See Fed. R. Crim. P. 32.21


                                                    I.

                              Drug Violations and Forfeiture Statutes
             [Title 21 U.S.C. § 846, 841(a)(1), and (b)(1)(A)/(C), subject to forfeiture
                          pursuant to Title 21 U.S.C. § 853(a)(1) and (2)]

          As a result of the foregoing criminal violations set forth above, the United States gives

notice to the Defendants of its intent to seek the forfeiture of the property described below upon

conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 21 U.S.C. § 853(a)(1) and (2), which

states:

          Title 21 U.S.C. § 853. Criminal forfeitures
                  (a) Property subject to criminal forfeitures.
                  Any person convicted of a violation of this subchapter or subchapter II punishable
                  by imprisonment for more than one year shall forfeit to the United States,
                  irrespective of any provision of State law.--
                          (1) any property constituting, or derived from, any proceeds the person
                          obtained, directly or indirectly, as the result of such violation;
                          (2) any of the person's property used, or intended to be used, in any
                          manner or part, to commit, or to facilitate the commission of, such
                         violation;...
                                                  II.
                      Money Launderin2 Violation and Forfeiture Statutes
                   [Title 18 U.S.C. § 1956(h), subject to forfeiture pursuant to
                                     Title 18 U.S.C. § 982(a)(1)]

          As a result of the foregoing criminal violation set forth above, the United States of America

gives notice to the Defendants of its intent to seek the forfeiture of the property described below

upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 982(a)(1), which states:

          Title 18 U.S.C. § 982. Criminal forfeiture
          (a)(1) The court, in imposing sentence on a person convicted of an offense in violation of
           section 1956. . . shall order that the person forfeit to the United States any property, real
           or personal, involved in such offense, or any property traceable to such property.


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                                                III.
                        Identity Theft Violations and Forfeiture Statutes
            LTitle 18 U.S.C. § 1028(a)(7), (b)(3)(A), subject to forfeiture pursuant to
                         Title 18 U.S.C. § 1028(b)(5) and 982(a)(2)(B)]

       As a result of the foregoing criminal violations set forth above, the United States of

America gives notice to the Defendant of its intent to seek the forfeiture of the property described

below upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 1028(b)(5) and

982(a)(2)(B), which state:

       Title 18 U.S.C. § 1028 Fraud and related activity in connection with identification
       document, authentication features and information

       (b) The punishment for an offense under subsection (a) of tlis section    is
            (5) in the case of any offense under subsection (a), forfeiture to the United State of
            any personal property used or intended to be used to commit the offense; and...

       Title 18 U.S.C. § 982. Criminal forfeiture

       (a)(2) The court, in imposing sentence on a person convicted of a violation of, or a
       conspiracy to violate

            (B) section. . . 1028 .. . of this title,
            shall order that the person forfeit to the United States any property constituting, or
            derived from, proceeds the person obtained directly or indirectly, as the result of
            such violation.

This Notice of Demand for Forfeiture includes, but is not limited to, the following:

       (1) OSAZUWA EMMANUEL WILLIAMS:
       1. $6,500.00, more or less, in United States Currency;
       2. Any and all property, real or personal involved in or used in the commission of the
          criminal offenses.

       (2) JUAN FRANCISCO MUNOZ:
       1. Any and all funds in Texas Department of Criminal Justice Trust Fund Bank Account
           TDCJ-No xxxxl 130.
       2. Any and all property, real or personal involved in or used in the commission of the
            criminal offenses.




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      (3) PAUL GO YEA:
      1. $3,851.00, more or less, in United States Currency;
      2. Any and all property, real or personal involved in or used in the commission of the
         criminal offenses.

      (4) OSAMA MOHAMMED EL WAN:
      3. $12,589.00, more or less, in United States Currency;
      4. Any and all property, real or personal involved in or used in the commission of the
          criminal offenses.

      (6) ROSA TEROMINA MILLER:
      1. Any and all funds in Chase Bank Account Number xxxxxx7576;
      2. Any and all funds in Woodforest Bank Account Number xxxxxx2999; and
      3. Any and all property, real or personal involved in or used in the commission of the
           criminal offenses.

      (7) MELISSA AMADOR:
      1. $3,851.00, more or less, in United States Currency;
      2. Any and all property, real or personal involved in or used in the commission of the
         criminal offenses.


                                           4 TRUE BILL

                                         'PREPERSON OVTHE UKu-rrY

      JAIME ESPARZA
      UNITED STATES ATTORNEY


BY:
      FOR BRIA       OWINSKI
      Assistant United States Attorney




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